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Fn.st) ar _£_C c.c.

IN THE UNITED sTATEs DISTRICT COURT
FOR THE WESTERN DISTRICT oF TENNESSEE 05 HfaY -9 pg is 00

  

WESTERN DIVISION
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JEFFERY YATES, ) W.ij>, @,~. wing {i_|',’_'_:_. T.
) y .4 l
Plaiotiff, )
)
v. ) NO. 04-2836 Ma/An
)
CITY OF MEMPHIS, et al., )
)
Defendants. )

 

ORDER GRANTING MOTION TO AMEND COMPLAINT

 

Before the Court is Plaintiff’s Motion to Amend Cornplaint filed on April 5, 2005. For
the reasons set forth below, the Motion is GRANTED.

A pleading may be amended “on]y by leave of court . . . and leave shall be freely given
Wben justice so requires.” Fed. R. Civ. P. 15(a). “ln deciding Whether to allow an amendment,
the court should consider the delay in liling, the lack of notice to the opposing party, bad faith by
the moving party, repeated failure to cure deficiencies by previous amendments, undue prejudice
to the opposing party, and futility of amendment.” Perkins v. Am. Elec. Power Fuel Supply, Inc.,
246 F.3d 593, 605 (6th Cir. 2001). The Court can see no reason Why the amendment Should not
be allowed

Moreover, Defendants failed to file a response to the motion as required by Local Rule
7.2(a)(2). “Failure to timely respond to any motion, other than one requesting dismissal of a
claim or action, may be deemed good grounds for granting the motion.” Local Rule 7.2(a)(2).

As such, for good cause shown and because Defendants did not respond to the Motion, the

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Motion is GRANTED. Plaintiff shall file his amended Complaint within 15 days of entry of this

Order.
IT IS SO ORDERED.

(S€%,a date

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: Mr?? 0@’, Zoo;"

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 19 in
case 2:04-CV-02836 was distributed by faX, mail, or direct printing on
May 9, 2005 to the parties listed.

ESSEE

 

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Honorable Samuel Mays
US DISTRICT COURT

